William Hillman of the town of Delton, Sauk county, on the 31st day of May, 1940, filed his petition in the county court for Chippewa county, asking (1) that the court direct the executors to account to the petitioner for the value of the *Page 164 
portions of the specific devise and legacy of which he was deprived by the election filed by the widow of said deceased, together with all earnings, increase, and profits thereon from the date of the filing of such notice of election; (2) that all funds relinquished by the said Mary E. Marshall, as widow of the deceased, under the provisions made for her in said last will and testament, be held in trust by said executors for the purpose of satisfying the provisions made for petitioner in said last will and testament, and to compensate him for the loss sustained by reason of the election of said Mary E. Marshall; (3) that the executors be adjudged to be indebted to the petitioner here in an amount equal to one third of the value of the specific devise and specific legacy provided for the petitioner; (4) that said executors be directed to make immediate payment to the petitioner of such sums as may be found by the court to be due him under the provisions of the said will.
The respondents answered and alleged in defense, (1) that the total value of the estate as per the inventory filed in the county court November 10, 1922, was $817,491.53; the real estate, both foreign and domestic, being appraised at $278,510. (2) that the devise and bequest to William Hillman in said will is the same as set forth in said petition and the inventory value of said devise and bequest are as therein set forth; (3) the provision for the widow is set out, and the fact that she elected within one year after the death of the testator to take according to law is alleged; (4) that by said election the widow became entitled to one third of the net personal estate of the deceased; that pursuant to orders of the court the executors settled for one third by paying her one third out of the residual personalty of the estate; (5) that by said election said widow claimed a dower interest in all the real estate, including that not specifically devised by the will; that a large share of the residuary realty was western timber land, and the executors settled with the widow for her interest in said *Page 165 
timber land by purchasing her interest for, the sum of $20,000; that the widow retained her dower interest in the Wisconsin lands; that all of the personalty belonging to the estate was thereafter distributed as rapidly as possible with the exception of assets that are nonrevenue producing; that there remain in the estate assets of the inventory value of $116,595.62, the estimated liquidating value of which is $74,990.90.
Upon the issue made by the petition and answer a trial was had and the following facts appear substantially without dispute: The will was executed by the deceased, February 4, 1921, and made the following testamentary dispositions: (1) To his wife, Mary E. Marshall, the homestead, a $2,000 annuity and $25,000 in cash or securities.  These provisions were to be preferred over all other devises or bequests and to be free of inheritance taxes. (2) To his sister, Rosa Jenkins, the Union Block in Chippewa Falls. (3) To his nephew, Leon Marshall, a bequest of stock and what was known as the Marshall Flats. (4) To Guy House, "if he survive me and be in my employ at the, time of my decease," a farm in Sauk county. (5) To William Hillman, "if he survive me and be in my employ at the time of my decease," the home farm in Sauk county and personalty thereon.
"This devise and bequest to William Hillman is subject to the use by my brother William for life of the house, now occupied and used by him, with the right to have a stock of firewood delivered to him from the farm as usual, and to have the benefit of water and light at his home as he has been accustomed to have."
(6) The testator then provided for several cash legacies ranging from $500 to $5,000 directions to printing his autobiography and securing oil portraits, and provisions for a monument.
Paragraph Twelfth was as follows:
"All the rest of my property and all lapsed devises and quests I will to my executors in trust to convert the same into *Page 166 
good interest-bearing securities as soon as practicable in their judgment, they to have all powers necessary or convenient therefor, including the making of conveyances which may be appropriate in order to execute their trust."
"Thirteenth:  I will that said executors pay the income of the invested fund, less the expense of executing the trust, other than their compensation, which I direct to be paid out of the corpus of the fund or estate, to my wife, so long as she shall live and then to distribute the trust fund as follows:"
One sixth to the surviving children of Rosa Jenkins, Walter Jenkins, and Frank Jenkins;
One sixth to Leon Marshall, Rollin Marshall, and the surviving children of Forest Marshall;
One sixth to Arthur A. McLeod, `in recognition of his fidelity to me and assistance in conserving my property;'
One sixth to the trustees of Lawrence College to create the R. D. Marshall fund;
One ninth to Chippewa Falls, Wisconsin, to create the R. D. Marshall Library fund;
One ninth to the town of Delton, Sauk county, to create the R. D. Marshall Town House and Library fund; and
One ninth to St. Joseph's Hospital, Chippewa Falls, to create the R. D. Marshall Hospital fund.
The widow's statutory one-third interest in the personalty was determined to be $150,299.37 and this amount was paid to her out of the residual personalty.
The devise to Rosa Jenkins was inventoried at $47,500; the devise to Leon Marshall was inventoried at $24,750; the devise to Guy House at $8,700; and the devise to William Hillman at $48,245.
On March 15, 1924, the widow sold her dower interest in the farm to William Hillman for $10,000.  She also sold her dower interest to Rosa Jenkins for $5,000 and her dower interest to Leon Marshall for $5,000.  There is no evidence as to the disposition of her dower interest in the farm devised to Guy House.
The assets remaining in the residuum at the time of the hearing consisted of the Tillamook timber tract in Oregon *Page 167 
appraised in the inventory at $28,000; the Soda Creek timber tract in California appraised in the inventory at $43,709.92; South Dakota land, on which the testator had a mortgage which was foreclosed by the executors, appraised in the inventory at $17,753.97; Wisconsin realty appraised in the inventory at $17,113.33; defaulted bonds appraised in the inventory at $11,118.40, and cash in the sum of $2,090.90.
In 1927, the executors sold the residual farm land in Sauk county to the petitioner.  In December, 1935, at the request of the petitioner, the executors petitioned the court to assign the Wisconsin realty, and an interlocutory judgment assigning the farm, two thirds to William Hillman, the petitioner, and one third to Mary E. Marshall, was entered on January 7, 1936.
The estate has not been closed, the time for closing the same having been extended by orders of the county court upon petition of the executors.
Mary E. Marshall, the widow, died on January 23, 1939. The first knowledge the executors had that petitioner asserted any claim against the residuum was derived from a letter written by petitioner's counsel dated March 13, 1939, seventeen years after the testator's death and sixteen years after the widow's election.
The court found:
"(1) That the testator was fully aware of and contemplated the fact that the widow might elect to take by law and gave specific directions in paragraph 12 of his will as to the disposition of all lapsed legacies and devises, conferring it upon the residuary legatees to the exclusion of any claimed trust alleged by the petitioner.
"(2) That before sequestration can take place certain facts must be established by evidence in a proceeding instituted in the equity side of the court by the claimants; that this proceeding by the petitioner was not instituted until July, 1940, and that the statute of limitations bars the operation of the sequestration rule. *Page 168 
"(3) That the petitioner with full knowledge of all the facts neglected to take action for more than seventeen years and is barred by laches from now making such claim.
"(4) That the principal portion of this estate was left to the residuary legatees by reason of the fact that they were his and his wife's relatives and his nearest kinsfolk and institutions in which he was personally greatly interested, and were therefore his most cherished beneficiaries, this being his apparent reason for giving all lapsed legacies and devises to the residuum.
"(5) That the petitioner's loss by reason of the widow's election was $10,000.
"(6) That for the reasons hereinbefore set forth that the petitioner is not entitled to compensation as a disappointed specific devisee out of the residuary fund.
"(7) That under the terms of the will and the apparent intention of the testator no trust was created in favor of the disappointed devisees upon the widow's election."
And ordered the petition to be dismissed, from which order the petitioner appeals.
The following opinion was filed October 7, 1941:
Upon this appeal the petitioner alleges that the court erred as a matter of law in reaching the conclusions set out in the statement of facts.
This assignment raises the following questions: (1) Did the gifts renounced by the widow pass to the residuum of the estate under paragraph Twelfth of the will? (2) Is the statute of limitations applicable to this proceeding? (3) Is the relief sought by appellant barred by laches?
(4) It is argued, (a) that the distribution of the residuary trust fund ought to have occurred at the death of the widow and during her life so much of the income sequestered as was necessary to compensate disappointed legatees; (b) unless appellant receives compensation out of either the absolute gifts relinquished by the widow or out of the income a substantial distortion will occur in testator's scheme.
We shall first dispose of appellant's contention that his loss is $16,081.67.  It will be recalled that he paid the widow $10,000 for the interest that she acquired in the property specifically devised to him by her renunciation of the will. We think it clear that this measures the extent of petitioner's loss.  This seems too plain for argument.  This is an equity proceeding, not a proceeding upon contract, and what the petitioner is entitled to, if he is entitled to anything, is to be made good.  Upon the payment of $10,000 the petitioner had and enjoyed everything that he would have had and enjoyed if there had been no renunciation by the widow.
While the question of sequestration of a renounced interest in an estate has not so far as we are advised been before this court, except in the case of Will of Muskat (1937), 224 Wis. 245,271 N.W. 837, there are some sixty decisions in other *Page 170 
jurisdictions dealing with various phases of the question.  Restatement of the Law of Property follows:
"§ 234. Renunciation — sequestration of the renouncedinterest.  When a will otherwise effectively creates prior and succeeding interests; and an attempted prior interest is renounced; and the renouncer effectively claims an intestate share; and there is no manifestation of a contrary intent, then
"(a) if the satisfaction of this derogating claim causes substantial distortion among the other testamentary dispositions, so much of the renounced interest as does not pass as part of such intestate share is sequestered for judicial distribution among the other testamentary distributees;
"(b) if the satisfaction of this derogating claim causes no substantial distortion among the other testamentary dispositions and acceleration of the succeeding interest is excluded by the manifestation of an intent contrary thereto, so much of the renounced interest as does not pass as part of such intestate share is sequestered for judicial distribution among the other distributees. . . .
"(g) `Manifestation of a contrary intent.' Under the rule stated in this section, sequestration does not occur when there is a manifestation of a contrary intent.  Such a contrary intent can be inferred from the language of the will or from the relations existing between the testator and his distributees or between the distributees or from any other relevant circumstance known to the testator.  Such a contrary intent is manifested when the combined effect of the renunciation and of the removal of assets to satisfy the derogating claim so affects the balance of the disposition that it is clear that the testator, if he had known of this partial frustration of his desires, would not have desired such balance of the disposition to take effect.
"(h) What constitutes a `distortion.' The satisfaction of the derogating claim made by the renouncer causes a distortion among the unrenounced dispositions of the will whenever such satisfaction operates otherwise than to decrease or to increase such other dispositions proportionately."
The following illustration is given: "Thus when the renouncer claims common-law dower and consequently the claim is confined to interests in land owned by testator A; and A has *Page 171 
devised his land to B and his other assets to his wife C for life, remainder to D absolutely, the wife's derogating claim affects solely the assets limited to B. D, without acceleration, would still receive exactly what A desired him to have.  In either event B would receive less than A desired him to have.  A distortion exists."
It is considered that the sequestration rule contended for by the petitioner in this case is not applicable for a number of reasons, the principal one of which is that the rule only applies where a contrary intent is not manifested by the testator.  So far as we are able to discover practically all of the authorities agree upon this proposition.  The testator was not only an able lawyer, had been circuit judge, and a member of this court for twenty-three years, but was a man of wide and varied business experience, and, as the decisions which he wrote fully disclose, very much interested in the right of a testator to dispose of his estate.  He wrote the opinion in Ludington v.Patton (1901), 111 Wis. 208, 229, 86 N.W. 571, in the course of which, speaking for the court, he said:
"The will did not disturb appellant's [the widow's] legal rights, except provisionally.  They were written into the instrument, by force of the statute, as effectually as if they had been expressed by the testator himself, leaving appellant the alternative of taking one provision or the other."
In the case of Harrington v. Pier (1900), 105 Wis. 485,498, 82 N.W. 345, the court had under consideration the construction of a will executed by one Elizabeth Ann Sutton. The court was called upon to deal with the question of what constituted the residuum of the estate.  Judge MARSHALL, writing the opinion for the court, said:
"The term `residue' was used with reference to what might be left of the estate after satisfying the previously declared purposes.  The amount of the residuum was not necessarily one fourth of the net estate, so called.  The testatrix must be presumed to have had in mind, in view of the general language of the residuary clause, that all of her estate that for *Page 172 
any reason might not pass under the particular bequests would go to the residuary legatees under the general language of the residuary clause."
In Will of McIlhattan (1927), 194 Wis. 113, 117,216 N.W. 130, the court held that —
"Upon the election of the widow and the death of Fred McIlhattan the purposes of the trust ceased, and the estate of the trustees also ceased under the statute quoted.  It is a general rule of law that the election of the widow has the same effect as her death, and accelerates the remainders so that the beneficiaries enter directly into enjoyment thereof. [Citing cases.] This general rule of law does not apply if the terms of the trust expressly otherwise provide; that is, the intent of the testator must prevail if that intent is manifest from the will itself."
At the death of the widow, the provision for the payment of the income of the trust would lapse.  Her renunciation having the same legal effect as her death, the provision made for her in paragraph Thirteenth lapsed.
The decision in Will of McIlhattan, supra, is peculiarly applicable to the facts in this case.  In Harrington v. Pier,supra, the court held that the testatrix, a woman, so far as the record discloses not learned in the law or possessed of experience in business, was presumed to know the effect of the law upon her will.  It would be a very difficult conclusion for this or any other court, having knowledge of Judge MARSHALL's legal and business ability, to say that in his case the presumption should not apply.  He was one of the most thoroughgoing, accurate, and exhaustive lawyers that has ever appeared at the bar of Wisconsin.  His method of work, the extent of his investigation, his deep learning in the law, are fully disclosed by his opinions found in the many cases where he spoke for this court.  The fact that he was able to carry on an extensive law practice, and at the same time accumulate the large fortune which the record shows he had at the time *Page 173 
of his death, establishes the fact that in addition to his other abilities, he was a man of unusual business acumen.
It is argued on behalf of the petitioner that the will manifests a clear intent to give the farm in question to the petitioner. Of that it seems to us there can be no doubt, but the gift under the law was clearly subject to the right of the widow to elect, and of that Judge MARSHALL was fully aware, and must have had it in contemplation at the time he drafted his will.  We fully concur in the conclusion of the trial court that the testator by his will clearly manifested an intent that the lapsed legacies should become a part of the residuum.
We shall not attempt to write a monograph on the law of this case.  It has been well and exhaustively treated in the Restatement of the Law in all its various phases and aspects. If it were necessary to a decision in this case we should be obliged to hold that there is no distortion.
The residuary clause of this will is not the ordinary catchall residuary clause designed mainly to prevent some part of the estate of the deceased passing as intestate property.  By the Twelfth clause of his will the testator provided:
"Twelfth: All the rest of my property and all lapsed devises and bequests I will to my executors in trust to convert the same into good interest-bearing securities," etc.
The income from this residuum was to be paid to the widow during her life; upon her death one sixth, one half thereof was to go to the then surviving children of his sister, Rosa Jenkins, and the other half in equal portions to the surviving children of Walter Jenkins, and the then surviving children of his wife's brother, Frank.  The second one sixth in equal portions to Leon Marshall, his son Rollin, and the surviving children of Forest Marshall, deceased.  The third one sixth to Arthur A. McLeod, in recognition of his fidelity to him and assistance in conserving his property.  The fourth one sixth to the trustees of Lawrence College, in which institution *Page 174 
Judge MARSHALL received his education and of which he was very fond.  The remaining one third was to be divided between the city of Chippewa Falls, the town of Delton, in which the home of his parents and his farms were situated, and to St. Joseph's Hospital at Chippewa Falls.  Two ninths thus were devised to institutions in Chippewa Falls, the place where Judge MARSHALL practiced law, and his home up to the time of his death.  These provisions are absolute.  The gifts to his wife, to his sister, Rosa Jenkins, to Leon Marshall, to Guy House, and to the petitioner are upon condition that the devisees shall survive him.  When the widow elected to take under the statute, under the law of Wisconsin, she took not only her dower interest in the real estate but one third of the personal property which constituted the major part of the residual estate.  As a result of her election the provisions made by the Twelfth and Thirteenth paragraphs of the will, which were manifestly to, his most cherished legatees, were diminished in the same proportion as was his gift to the petitioner. If the loss of the petitioner be reckoned at $10,000 instead of one third of the appraised value of the farm, it was even more.  If the rule contended for by the petitioner were applicable we see no ground upon which it could apply in this case under the circumstances.  The petitioner's rights, whatever they were, arose at the time the widow made the election. If he was entitled to substitutional benefits out of that part of the estate which she renounced, remaining after her derogating claim was satisfied, the residuary legatees would be called upon to make good out of their equally diminished bequests, the petitioner's loss.  Having suffered an equal or greater loss than the petitioner, we see no equitable basis for petitioner's claim even if the rule were applicable.  The fact that the widow lived to the advanced age of ninety-one years does not affect the construction of the will.  By her election she withdrew one third of the trust corpus from the favored legatees.  As the estate now stands the petitioner's *Page 175 
claim if allowed would have to be made up out of the shares of the residuary legatees because practically all of the personalty has been distributed.
Many other questions are raised by counsel.  Inasmuch as those already considered dispose of the entire controversy we shall not give them further attention.  It is considered that the findings, decision, and order of the trial court are correct, and that they should be and they are hereby affirmed.
By the Court. — The order appealed from is affirmed.
FAIRCHILD, J., took no part.
A motion for a rehearing was denied, with $25 costs, on December 2, 1941.